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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 1:24-cv-20056-JB

 BRANDON M. EVANS,

        Plaintiff,
v.

 EVOLUTION FINANCE, INC.,

        Defendant.
                                        /

                            NOTICE OF VOLUNATRY DISMISSAL
        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, BRANDON M. EVANS, by and

 through undersigned counsel hereby files this Voluntary Dismissal with Prejudice with regard to

 Defendant, EVOLUTION FINANCE, INC. Each party shall be responsible for bearing their own

 expenses, costs of litigation and attorney’s fees.

 Dated: March 22, 2024.                         Respectfully submitted,

                                                /s/ Seth M. Lehrman
                                                Seth M. Lehrman
                                                FL Bar No. 132896
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                                                LEHRMAN LAW
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                                                Boca Raton, FL 33431
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                                                Alpharetta, GA 30009
                                                Telephone: 404-855-3600

                                                Counsel for Plaintiff
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 22, 2024, I electronically filed the foregoing with the

 Clerk of the Court, using the CM/ECF system which will send a notice of electronic filing to all

 counsel of record.


                                                    /s/ Seth M. Lehrman
                                                    Seth M. Lehrman




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